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                           IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TENNESSEE
                                     EASTERN DIVISION

__________________________________________________________________________________

                                   )
UNITED STATES OF AMERICA,          )
                                   )
            Plaintiff,             )
                                   )
VS.                                )                 CR. NO. 1:17-10003-STA-2
                                   )
COURTNEY COOPER,                    )
                                   )
            Defendant.             )
__________________________________________________________________________________

                            ORDER ON CHANGE OF PLEA
                              AND NOTICE OF SETTING
__________________________________________________________________________________



       This cause came to be heard on October 23, 2017, Assistant United States Attorney, Beth Boswell,
appearing for the Government and the defendant, Courtney Cooper, appearing in person, and with
counsel, Dianne Smothers.

       With leave of the Court, the defendant withdrew the not guilty plea heretofore entered and
entered a plea of guilty to Count 1 of the Indictment.

       A basis in fact having been established, the Court accepted the guilty plea.

       SENTENCING in this case is SET for TUESDAY, JANUARY 16, 2018 at 11:00 A.M., before
Chief S. Thomas Anderson.

       Defendant is remanded to the custody of the United States Marshals.

       ENTERED this the 23rd day of October, 2017.


                                                   s/ S. Thomas Anderson
                                                   CHIEF JUDGE, U. S. DISTRICT COURT
